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                    EXHIBIT
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 1                       KING COUNTY DISTRICT COURT
                               KENT DIVISION
 2                HONORABLE JUDGE SUSAN MAHONEY PRESIDING
     INQUEST IN THE DEATH OF       )
 3                                 )
     JOSEPH GIOVONN M. MCDADE      )    No. 417IQ9738 KPA
 4                                 )
                    DECEASED.      )
 5
                                   VOLUME III
 6
                         (Transcript of Proceedings)
 7

 8

 9

10                                  9:00 A.M.

11
                               December 13, 2017
12
                          King County District Court
13                              401 4th Avenue
                                Kent, WA 98032
14

15

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18
            Reported By:      Robert L.T. Thomas, Sr., CCR #2258
19

20

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23                        COURT REPORTING OFFICES OF
                        ROBERT L.T. THOMAS, SR., INC.
24                          913 North 36th Street
                               Renton, WA 98056
25                              (425) 271-0333
     Case 2:20-cv-00771-BJR Document 72-1 Filed 03/12/21 Page 3 of 112
 1                        A-P-P-E-A-R-A-N-C-E-S
 2

 3   FOR THE STATE:

 4   Gretchen Holmgren
     King County Deputy Prosecuting Attorney
 5   401 Forth Avenue
     Suite 2A
 6   Kent, WA 98032-4429

 7

 8   FOR OFFICER WILL DAVIS:

 9   Stewart Estes
     Derek Chen
10   Attorneys
     801 Second Avenue
11   Suite 1210
     Seattle, WA 98104
12

13

14   ALSO PRESENT:

15
     Fred Gendreau
16   Ofc. Will Davis

17

18

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             COURT REPORTING OFFICE OF ROBERT THOMAS, INC. (CCR) (425)271-0332   1A
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 1                                         I-N-D-E-X

 2   WITNESSES:             DIRECT       CROSS       REDIRECT        RECROSS           JURY

 3   RALPH HYETT                5            21

 4   FRED GENDREAU             30            35            36            38                 37

 5   WILLIAM DAVIS             42            70

 6

 7   EXHIBITS:                                                           ID     ADMITTED

 8   F    Re-enactment video                                                           37

 9   G    Collision reconstruction disc                                                14

10   T    Devonte cheeks phone calls                                                   32

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                   COURT REPORTING OFFICE OF ROBERT THOMAS, INC. (CCR) (425)271-0332    2
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 1               The State will call Officer Davis.

 2                      JUDGE MAHONEY:        Please raise your right

 3          hand.

 4               Do you swear or affirm that the testimony you

 5          give today will be true under penalty of perjury?

 6                      THE WITNESS:        Yes, ma'am.

 7                      JUDGE MAHONEY:        Thank you.

 8               Please be seated.

 9                      THE WITNESS:        Thank you.

10          WILLIAM DAVIS                    being duly sworn was called

11                                           and testified as follows:

12                      JUDGE MAHONEY:        Go ahead Ms. Holmgren.

13                              DIRECT EXAMINATION

14   BY MS. H0LMGREN:

15   Q      Officer Davis can you please state your first and last

16          name and spell your last name for the record?

17   A      Yes, ma'am. I'm William Davis, D-a-v-i-s.

18   Q      And what's your current occupation?

19   A      Currently I'm employed with the City of Kent Police

20          Department and I'm assigned to the training center,

21          CJTC.

22   Q      And how long have you worked with the City of Kent?

23   A      A little over six years now.

24   Q      Did you have prior law enforcement experience?

25   A      Yes, ma'am.


               COURT REPORTING OFFICE OF ROBERT THOMAS, INC. (CCR) (425)271-0332   42
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 1   Q      And so you were on shift for approximately four hours

 2          when this incident occurred?

 3   A      Approximately Yes, ma'am.

 4   Q      And do you recall at what time on that early morning -

 5          - in the early morning hours of June 24 that -- June

 6          24 -- I apologize -- that you first heard over the

 7          radio a request for a second unit by Officer Rausch?

 8   A      I don't remember exactly. I believe it was 10 to 12

 9          minutes after midnight. Somewhere in there.

10   Q      And what did you know at that time based on Officer

11          Rausch's request?

12   A      So Officer Rausch is a very, very good officer. He

13          doesn't get spooked or startled easily. He's

14          absolutely in control of his emotions so if he's

15          calling for a second unit he has seen signs of either

16          danger or something's just not right if he feels like

17          he needs a cover officer to respond to make sure of

18          his safety but everyone's safety.

19   Q      Well did you also hear testimony earlier from Office

20          Rausch regarding his observation at the AM-PM?

21   A      I did, yes.

22   Q      And at this time that you heard call out for a second

23          unit did you have any of that information?

24   A      No, ma'am I did not.

25   Q      And did you have any of that information during the


               COURT REPORTING OFFICE OF ROBERT THOMAS, INC. (CCR) (425)271-0332   47
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 1          life of this incident?

 2   A      No.

 3   Q      So when he made that call you had your understanding,

 4          based on your prior experience with Officer Rausch.

 5                  But what was the specific nature of the stop?

 6   A      It was a traffic stop.

 7   Q      And do you recall where you were at the time in Kent

 8          when you heard that information?

 9   A      I do.

10                  I was stopped in the Schloztky's parking lot on

11          256.

12                  I had just finished speaking with a young lady

13          about a barking dog that she had mentioned about over

14          the phone.

15   Q      And approximately how far away were you at that time

16          from Officer Rausch's location?

17   A      From his location I was well within half a mile. I was

18          on 256 at approximately on the 102 hundred block. So,

19          I really wasn't that far away.

20   Q      Okay.

21                  What did you -- what decision did you make upon

22          hearing that request over the radio?

23   A      I knew that I was very close, and I just finished my

24          call so I was available. So I decided to go and assist

25          him and back him up.


                  COURT REPORTING OFFICE OF ROBERT THOMAS, INC. (CCR) (425)271-0332   48
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 1                           C E R T I F I C A T E

 2   STATE OF WASHINGTON       )
     COUNTY OF KING            )
 3
     I, ROBERT   L.T. THOMAS, SR., the undersigned Certified Court
 4   Reporter,   pursuant to RCW 5.28.010 authorized to administer
     oaths and   affirmation in and for the State of Washington,
 5   do hereby   certify:

 6   That the annexed and foregoing hearing of each witness
     named herein was taken stenographically before me and
 7   reduced to typewriting under my direction, consisting of
     pages 1 through 108.
 8
     I further certify that all objections made at the time of
 9   the hearing to my qualification or the manner of taking the
     hearing, or to the conduct of any party have been noted by
10   me upon doing the hearing.

11   I further certify that I am not a relative or an employee
     or attorney or counsel of any of the parties to said
12   action, or a relative or employee of any such attorney or
     counsel, and that I am not financially interested in the
13   same action or the outcome thereof.

14

15   IN WITNESS WHEREOF, I have here unto set my hand and
     affixed my Seal this      day of       2020.
16

17

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22
     ____________________________
23   ROBERT L.T. THOMAS, SR.
     Washington State Certified Court Reporter
24   WA CCR No. 2258
     Residing at Renton, Washington
25   My CCR Certification Expires 9-24-20


             COURT REPORTING OFFICE OF ROBERT THOMAS, INC. (CCR) (425)271-0332   108
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                       2
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                       Deposition of
                       William Davis


                    Date: December 10, 2020

 Case: RE: ESTATE OF GIOVONN JOSEPH-McDADE, v. CITY
                    OF KENT, et al.,

                     No. 2:20-CV-00771-BJR


     Court Reporter: Debra S. Kaesberg, CSR/RPR/CCR


                     Paszkiewicz Court Reporting
                         Phone: 618-307-9320
                        Toll-Free: 855-595-3577
                          Fax: 618-855-9513
                         www.spreporting.com
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                                                                 Page 1
           UNITED STATES DISTRICT COURT
          WESTERN DISTRICT OF WASHINGTON
                    AT SEATTLE


SONIA JOSEPH, individually          )
and as Special                      )
Administrator of the                )
ESTATE OF GIOVONN                   )
JOSEPH-McDADE, and                  )
GIOVANNI McDADE,                    )
individually,                       )
                                    )
                Plaintiffs,         )    #2:20-CV-00771-BJR
                                    )
          vs.                       )
                                    )
CITY OF KENT, a Washington          )
municipality; CITY OF KENT          )
POLICE DEPARTMENT; WILLIAM          )
DAVIS; MATTHEW RAUSCH; and          )
JOHN DOES 1-10,                     )
                                    )
                Defendants.         )


     VIDEOTAPED DEPOSITION OF WILLIAM DAVIS

          Taken on behalf of Plaintiffs
                December 10, 2020




          Debra S. Kaesberg, CSR/RPR/CCR
           Certified Shorthand Reporter
              License No. 084-004210
                  C.C.R. No. 670
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                                William Davis
                              December 10, 2020

                                                                      Page 4
1                  UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF WASHINGTON
2                           AT SEATTLE
3
     SONIA JOSEPH, individually          )
4    and as Special                      )
     Administrator of the ESTATE         )
5    OF GIOVONN JOSEPH-McDADE,           )
     and GIOVANNI McDADE,                )
6    individually,                       )
                                         )
7                      Plaintiffs,       )
                                         )
8                vs.                     )    #2:20-CV-00771-BJR
                                         )
9    CITY OF KENT, a Washington          )
     municipality; CITY OF KENT          )
10   POLICE DEPARTMENT; WILLIAM          )
     DAVIS; MATTHEW RAUSCH; and          )
11   JOHN DOES 1-10,                     )
                                         )
12                     Defendants.       )
13
14             VIDEOTAPED DEPOSITION OF WILLIAM DAVIS,
      produced, sworn, and examined on behalf of
15    Plaintiffs, December 10, 2020, between the hours
      of 9:02 a.m. Pacific and 5:41 p.m. Pacific of
16    that day, via Zoom videoconference, before Debra
      S. Kaesberg, Registered Professional Reporter and
17    Certified Shorthand Reporter.
18
                       A P P E A R A N C E S
19
               APPEARING TELEPHONICALLY: The
20    Plaintiffs were represented by Mr. Craig A. Sims
      and Ms. Kaitlin T. Wright of the law firm of
21    Schroeter, Goldmark & Bender, 810 Third Avenue,
      Suite 500, Seattle, Washington 98104;
22
                            and
23
               APPEARING TELEPHONICALLY: Ms. Patricia
24    Bosmans of the law firm of P. Bosmans Law, 1607
      25th Street P1 SE, Puyallup, Washington
25    98372-7112.

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                                William Davis
                              December 10, 2020

                                                                      Page 5
1              APPEARING TELEPHONICALLY: The
      Defendants were represented by Mr. Stewart A.
2     Estes of the law firm of Keating, Bucklin &
      McCormack, The Norton Building, 801 Second
3     Avenue, Suite 1210, Seattle, Washington 98104.
4
5
6     ALSO PRESENT:
7            Cathy Parker/Schroeter, Goldmark & Bender
8            Matthew Gonyear/Schroeter, Goldmark & Bender
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                                William Davis
                              December 10, 2020

                                                                      Page 6
1                    IT IS HEREBY STIPULATED AND AGREED by
2     and between Counsel for the Plaintiffs and
3     Counsel for the Defendants, that this deposition
4     may be taken in shorthand by DEBRA S. KAESBERG, a
5     Registered Professional Reporter and Certified
6     Shorthand Reporter, and afterwards transcribed
7     into typewriting, and the signature of the
8     witness is not waived by agreement of counsel and
9     the witness.
10
11                                O-O-O
12
13                           WILLIAM DAVIS,
14    of lawful age, being produced, sworn and examined
15    on the part of the Plaintiffs, and after
16    responding "Yes" to the oath administered by the
17    court reporter, deposes and says:
18
19                     * * * * * * * * * * * *
20
21                   VIDEOGRAPHER:       This is the videotaped
22    deposition of William Davis.          Today's date is
23    December 10th, 2020.        The time is 9:02 a.m.
24    Pacific Standard Time.         We are now on the record.
25                   And, Counselors, will you please


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                                William Davis
                              December 10, 2020

                                                                   Page 211
1             Q.     Did you observe, at any point prior
2     to you getting out of your police vehicle within
3     the cul-de-sac, did you observe anything that
4     caused you to believe that reasonable force --
5     that -- strike that.
6                    Prior to you getting out of your car
7     in the cul-de-sac, did you observe anything that
8     led you to believe it would be reasonable to
9     apply deadly force?
10            A.     No, sir.
11            Q.     Are you sure of that?
12            A.     I am quite certain of that.
13            Q.     Based upon your observations of what
14    took place that evening during the pursuit, it is
15    your perspective that there was no point, prior
16    to you getting out of the car, where you believed
17    deadly force would have been appropriate; is that
18    correct?
19            A.     That is correct.       Yes, sir.
20            Q.     I want to go back to the time and
21    place when you first engaged in the pursuit.
22            A.     Okay.
23            Q.     So you received the information over
24    the radio from Officer Rausch, and then you went
25    to where he was located or in that area; is that


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                                William Davis
                              December 10, 2020

                                                                   Page 225
1             Q.     Why is that?
2             A.     This is Kent Police Department.            This
3     appears to be a Valley com coding.            I'm not privy
4     to Valley com coding, I've never heard of
5     priority E, Priority 1, Priority 2.            That is not
6     terminology we use.
7                    It looks like they are using that as
8     their statistics gathered from dispatch.              Because
9     dispatch may use that terminology, does not mean
10    that that is the Kent Police Department
11    terminology.
12            Q.     So is it your perspective that on
13    June 24th, 2017, when you received the call from
14    Officer Rausch, that was identified as a Priority
15    2 from Valley com, that you believe that there
16    was more going on that represented -- that did
17    not represent a minimal hazard, but a more
18    dangerous situation for Officer Rausch?
19                   MR. ESTES:      Objection to form.
20            A.     I don't know what Officer Rausch had.
21    I know Officer Rausch was calling for assistance.
22    I'm sorry, we don't use a Priority 2s.             Like I
23    said before, when I was talking about looking at
24    that sheet, there's things on that sheet I still
25    to this day don't know what they mean.             That


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                                William Davis
                              December 10, 2020

                                                                   Page 228
1                    When you engaged in the pursuit, what
2     exactly was the reason Officer Rausch attempted
3     the traffic stop on Giovonn Joseph-McDade?
4             A.     If I remember correctly, he said
5     there was a traffic violation or something to
6     that effect.
7             Q.     Do you recall the specific traffic
8     violation?
9             A.     I do not, sir.
10            Q.     Do you know if it was a -- or did you
11    know at that time whether it was a broken
12    taillight?
13            A.     I did not know what the violation
14    was, no, sir.
15            Q.     Between the time period where you
16    engaged in the pursuit and just prior to you
17    getting out of the car, can you tell us how many
18    pedestrians you saw on the street at that point
19    in time, or during that point in time?
20            A.     I don't recall any pedestrians from
21    the time I got to Applebee's to the end of the
22    pursuit.
23            Q.     Can you tell us what the traffic was
24    like between the time period where you engaged in
25    the pursuit until the time you got out of your


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                                William Davis
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                                                                   Page 229
1     vehicle in the cul-de-sac?
2             A.     Yes, sir.     Traffic was very light, if
3     any.
4             Q.     And when you say "very light," what
5     does that mean?
6             A.     It means I can't recall if there was
7     any traffic.
8             Q.     Aside from the radio broadcast, were
9     there any other -- was there any other type of
10    communication going on between you and
11    Officer Rausch during this pursuit?
12            A.     No, sir.
13            Q.     Did you receive any information as
14    you engaged in the pursuit as to whether the
15    Honda Accord that Mr. Joseph-McDade was driving,
16    whether it was stolen?
17            A.     I did not.      I remember after we made
18    the turn onto 244, dispatch gave the -- I believe
19    the registration information.           But that was right
20    about the same time as the PIT, the first PIT
21    attempt that he missed.         And I don't recall
22    exactly what she had said with that.
23            Q.     And while you may not recall exactly
24    what was said, did you receive any information at
25    the time that the vehicle was stolen?


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                                William Davis
                              December 10, 2020

                                                                   Page 230
1             A.     No, sir.
2             Q.     Do you have any knowledge or
3     information as to whether or not Officer Rausch
4     requested information on the vehicle's license
5     plate prior to attempting the traffic stop?
6             A.     Do I know specifically if he did or
7     didn't?      Is that the question?
8             Q.     Yes, sir.
9             A.     Specifically, I do not know.
10            Q.     You indicated during your earlier
11    recitation of your version of the facts, that
12    there was speeds that ranged, I believe, up to
13    60 miles per hour; is that correct?
14            A.     I believe so, yes, sir.
15            Q.     How long, whether in duration or
16    time, were speeds approaching or reaching
17    60 miles an hour?
18            A.     I don't know exactly how long.           My
19    speeds were greater than 60 trying to catch up to
20    them.    And -- but it was a short pursuit, so it
21    probably was not very long.
22                   And can we take the crime statistics
23    down?
24            Q.     Yeah, just one moment.
25                   So again, the question stands, in


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                                William Davis
                              December 10, 2020

                                                                   Page 231
1     terms of how long, whether in time or duration,
2     were speeds at or approaching 60 miles per hour?
3             A.     I would say less than -- less than a
4     minute, but I don't know for sure.
5             Q.     Were speeds at 60 miles an hour for a
6     majority of the pursuit?
7             A.     I don't believe so.        I would not say
8     the majority of it, no.
9             Q.     Why would you say that speeds were
10    not approaching 60 miles an hour for a majority
11    of the pursuit?
12            A.     Because on the CAD I had just seen,
13    it shows where he had pulled over.            He slowed
14    down to 30 miles an hour.          Officer Rausch said
15    they were getting ready to bail.            And from there
16    to 244th isn't that great a distance, and I
17    caught up to them by the time we got to 244, and
18    I don't believe our speeds got back up to 60
19    before we hit the roundabout.
20            Q.     At any point in time when the pursuit
21    entered the residential neighborhood, did the
22    speeds ever approach 60 miles an hour?
23            A.     I don't know.       244 is also a
24    residential area.       I don't know what the speeds
25    were between the failed PIT that he completely


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                                William Davis
                              December 10, 2020

                                                                   Page 232
1     missed when we all started to have to slow down
2     to navigate the roundabout.          There's a span of a
3     distance there.       So I don't know what the speeds
4     were.
5             Q.     At any point in time, do you have an
6     understanding as to whether or not the speeds
7     that Mr. Giovonn Joseph-McDade was driving his
8     car, whether it was in excess of 60 miles per
9     hour?
10            A.     I don't.     I don't know.
11            Q.     Do you have any ability to determine
12    at what point in time, or at any point in time
13    during the pursuit, what the speeds were that
14    Mr. Giovonn Joseph-McDade was driving at any
15    point in time?
16            A.     I don't recall if I called out our
17    speeds on 244th or not.         That would be the only
18    time I would personally know roughly what his
19    speed was.
20            Q.     Is there any other indication as to
21    how fast Mr. Giovonn Joseph-McDade was driving
22    his car outside of what you might have called out
23    on the radio?
24            A.     What Officer Rausch had broadcast.
25            Q.     Are there any other indicators aside


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                                William Davis
                              December 10, 2020

                                                                   Page 233
1     from those things that you just described in
2     terms of how fast Mr. Giovonn Joseph-McDade would
3     have been driving?
4             A.     Not that I recall, no, sir.
5             Q.     You indicated that Mr. Giovonn
6     Joseph-McDade was driving, I believe, in a
7     reckless manner or something like that, when you
8     presented your -- your outline and your version
9     of the event.
10                   Tell me all the factors that lead you
11    to believe that he was operating his car in a
12    reckless manner.
13            A.     He was fleeing from police who were
14    in pursuit, is one factor.          He was well above the
15    posted speed limit, which is a second factor.
16    His passenger was trying to get out of the
17    vehicle and was unable to.
18                   He was driving it directly at a
19    police officer:       He drove on the sidewalk.         He
20    drove into a park.
21            Q.     I want to focus in on the time period
22    where you first engaged in the pursuit to the
23    time just before you got out of your car in the
24    cul-de-sac.      So between --
25            A.     Okay.


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                                William Davis
                              December 10, 2020

                                                                   Page 234
1             Q.     -- that time period, I want to focus
2     on what are all the factors that lead you to
3     believe that Mr. Giovonn Joseph-McDade operated
4     his vehicle in a reckless manner.
5             A.     So in that very, very limited
6     snapshot.
7             Q.     Yes.
8             A.     I don't know, other than driving onto
9     the sidewalk and navigating the roundabout at
10    well above the posted speed limit, I don't know
11    that there was a lot that was -- I could term as
12    reckless.
13            Q.     When did Mr. Giovonn Joseph-McDade
14    drive onto the sidewalk as he was operating his
15    car?
16            A.     Just prior to me getting out.
17            Q.     And so that was after that he was hit
18    by Officer Rausch as well; is that correct?
19            A.     Yes, sir.
20            Q.     Okay.    So before being hit by
21    Officer Rausch, and you say then he drove onto
22    the sidewalk, you indicated that one of the
23    factors that lead you to believe that he was
24    operating his car in a reckless manner was that
25    he drove around a roundabout in excess of the


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                                William Davis
                              December 10, 2020

                                                                   Page 235
1     speed limit.
2                    How fast was he driving around the
3     roundabout?
4             A.     I can't estimate exactly how fast he
5     was going.     I believe those are designed for a
6     fairly low speed.
7             Q.     Was he able to navigate the
8     roundabout based on the speed that he was going?
9             A.     Yes.
10            Q.     And so if we used logic, you would
11    agree that if the roundabout is designed for a
12    low speed, if Mr. McDade was able to navigate the
13    roundabout, that he therefore would have been
14    driving around the roundabout at a low speed?
15            A.     No.
16            Q.     Does that make logical sense to you,
17    sir?
18            A.     That is not logical at all.
19            Q.     Do you have the ability to determine
20    exactly how fast Mr. McDade was driving around
21    the roundabout?
22            A.     No, sir, I do not.
23            Q.     So if you don't know the speed of
24    which he was driving around the roundabout, you
25    can't say with absolute certainty that he was


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     Case 2:20-cv-00771-BJR Document 72-1 Filed 03/12/21 Page 25 of 112

                                William Davis
                              December 10, 2020

                                                                   Page 246
1     That's, like we discussed earlier, when it --
2     right about that time is when it dawned on me, I
3     have a rider in the car with the doors unlocked
4     just a few feet away from the suspect.
5                    At that point, I moved up, put myself
6     between the rider and the driver.
7             Q.     At this point, you identify or use
8     the term "suspect."        Who are you referring to
9     specifically when you use the term "suspect," and
10    then what is that person suspected of having
11    done?
12            A.     Mr. McDade, eluding.         How would you
13    like me to refer to him as, sir?
14            Q.     After -- after you made the command
15    to stop the car, whatever the commands were, talk
16    to us about what happened next.
17            A.     So when I went up, I could see him
18    staring straight ahead.         The passenger looked
19    over -- looked at me, puts his hands up, and he's
20    trying to grab the door handle as if to get out.
21                   I tap on the window with my
22    flashlight.      And right about that time, yelling
23    at him turn the car off, he starts to back up.
24            Q.     You indicated that you tapped on the
25    window with the flashlight.          Earlier in our


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     Case 2:20-cv-00771-BJR Document 72-1 Filed 03/12/21 Page 26 of 112

                                William Davis
                              December 10, 2020

                                                                   Page 297
1
2                        REPORTER CERTIFICATE
3
               I, DEBRA S. KAESBERG, Certified
4     Shorthand Reporter, do hereby certify that there
      came before me via Zoom videoconference,
5
                             WILLIAM DAVIS,
6
      who was by me first duly sworn; that the witness
7     was carefully examined, that said examination was
      reported by myself; translated and proofread
8     using computer-aided transcription, and the above
      transcript of proceedings is a true and accurate
9     transcript of my notes as taken at the time of
      the examination of this witness.
10
               I further certify that I am neither
11    attorney nor counsel for nor related nor employed
      by any of the parties to the action in which this
12    examination is taken; further, that I am not a
      relative or employee of any attorney or counsel
13    employed by the parties hereto or financially
      interested in this action.
14
                  Dated this 13th day of December, 2020.
15
16
17
             _______________________________________
18               DEBRA S. KAESBERG, CSR, CCR, RPR
19
20
21
22
23
24
25

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                     EXHIBIT
                        3
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                      Deposition of
                     Matthew Rausch

                    Date: December 16, 2020

Case: Estate of Giovonn Joseph-McDade and Giovanni McDade,
 individually v. City of Kent, a Washington Municipality; City of
 Kent Police Department; William Davis; Matthew Rausch; and
                          John Does 1-10

                      No. 2:20-cv-00771-BJR

       Court Reporter: Carol A. Haas, RPR, CSR, CCR



                      Paszkiewicz Court Reporting
              Phone: (618) 307-9320 / (855) 595-3577 toll-free
                            Fax: 618-855-9513
                      Web Site: www.spreporting.com
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              UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF WASHINGTON
                        AT SEATTLE




SONIA JOSEPH, Individually and as  )
Special Administrator of the       )
ESTATE OF GIOVONN JOSEPH-McDADE    )
and GIOVANNI McDADE, individually, )
                                   )
          Plaintiffs,              )
                                   )
vs.                                )NO. 2:20-cv-
                                   )00771-BJR
CITY OF KENT, a Washington         )
Municipality; CITY OF KENT POLICE )
DEPARTMENT; WILLIAM DAVIS;         )
MATTHEW RAUSCH; and JOHN DOES 1-10,)
                                   )
          Defendants.              )




               THE VIDEOTAPED DEPOSITION OF
                     MATTHEW RAUSCH
                (VIA ZOOM VIDEO PLATFORM)




           Taken on behalf of the Plaintiffs
                   December 16, 2020




               Carol A. Haas, RPR, CSR, CCR

             Registered Professional Reporter
     Case 2:20-cv-00771-BJR Document 72-1 Filed 03/12/21 Page 30 of 112


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7                                                            Page
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17   Exhibit 9,     Photo of Honda Civic                           183
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19
20
21   *Marked upon electronic receipt by the reporter.
22   (Exhibits were retained by the court reporter for
     attachment to transcripts, with original exhibits
23   returned to Mr. Sims.)
24
25


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                                                                      Page 3
1                  UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF WASHINGTON
2                            AT SEATTLE
3
4
5
6    SONIA JOSEPH, Individually and as  )
     Special Administrator of the       )
7    ESTATE OF GIOVONN JOSEPH-McDADE    )
     and GIOVANNI McDADE, individually, )
8                                       )
               Plaintiffs,              )
9                                       )
     vs.                                )NO. 2:20-cv-
10                                      )00771-BJR
     CITY OF KENT, a Washington         )
11   Municipality; CITY OF KENT POLICE )
     DEPARTMENT; WILLIAM DAVIS;         )
12   MATTHEW RAUSCH; and JOHN DOES 1-10,)
                                        )
13             Defendants.              )
14
15
16
17                 THE VIDEOTAPED DEPOSITION OF MATTHEW
18   RAUSCH (VIA ZOOM VIDEO PLATFORM), produced, sworn,
19   and examined on behalf of the Plaintiffs, on
20   December 16, 2020, between the hours of 11:02 a.m.
21   and 6:16 p.m. CST, of that day, before Carol A.
22   Haas, Registered Professional Reporter, Certified
23   Shorthand Reporter, and Certified Court Reporter.
24
25


              Paszkiewicz Court Reporting (618) 307-9320
     Case 2:20-cv-00771-BJR Document 72-1 Filed 03/12/21 Page 32 of 112


                                                                      Page 4
1                       A P P E A R A N C E S

2

3                 APPEARING VIA ZOOM:       The Plaintiffs were

4    represented by Mr. Craig A. Sims, of the law firm of

5    Schroeter, Goldmark & Bender, 810 Third Avenue,

6    Suite 500, Seattle, Washington 98104.

7

8                 APPEARING VIA ZOOM:       The Defendants were

9    represented by Mr. Stewart A. Estes, of the law firm

10   of Keating, Bucklin & McCormack, 801 Second Avenue,

11   Suite 1210, Seattle, Washington 98104.

12

13                ALSO PRESENT:      Ms. Kaitlin Wright,

14   Mr. Matt Gonyea, and Ms. Cathy Parker, of the law

15   firm of Schroeter, Goldmark & Bender, 810 Third

16   Avenue, Suite 500, Seattle, Washington 98104.

17

18                ALSO PRESENT:      Nichole Bartholomy,

19   Videographer.

20

21

22

23

24

25


              Paszkiewicz Court Reporting (618) 307-9320
     Case 2:20-cv-00771-BJR Document 72-1 Filed 03/12/21 Page 33 of 112


                                                                      Page 5
1                  IT IS HEREBY STIPULATED AND AGREED by and

2    between Counsel for the Plaintiffs and Counsel for

3    the Defendants, that this deposition may be taken in

4    shorthand by Carol A. Haas, a Registered

5    Professional Reporter, Certified Shorthand Reporter,

6    and Certified Court Reporter, and afterwards

7    transcribed into typewriting.

8

9                        * * * * * * * * * *

10

11                                0-0-0

12

13                      THE VIDEOGRAPHER:       We are now on the

14         record.     This is the videotaped deposition of

15         Matthew Rausch.       Today's date is December 16th,

16         2020.    The time is 11:02 a.m. Central Standard

17         Time.

18                      All attorneys present will be

19         indicated on the stenographic record.             The

20         court reporter will now swear in the witness.

21

22                       * * * * * * * * * *

23

24                                0-0-0

25


              Paszkiewicz Court Reporting (618) 307-9320
     Case 2:20-cv-00771-BJR Document 72-1 Filed 03/12/21 Page 34 of 112


                                                                      Page 6
1                            MATTHEW RAUSCH

2

3    of lawful age, being produced, sworn, and examined

4    on the part of the Plaintiffs, and after responding

5    "Yes," to the oath administered by the court

6    reporter, deposes and says:

7

8                          * * * * * * * * *

9

10                     Examination by Mr. Sims

11         Q      Good morning, sir.       My name is Craig Sims,

12   and I'm one of the lawyers representing the

13   plaintiffs in this matter.          Let's begin this

14   conversation with having you tell us your first and

15   last name and provide us the spelling of the same.

16         A      Sure.    My name is Matthew Rausch.         First
17   name, M-A-T-T-H-E-W.        Last name, Rausch,
18   R-A-U-S-C-H.
19         Q      Mr. Rausch, as we are conducting this

20   deposition over a video platform and we are not in

21   the same room, can you please identify where you are

22   currently located?

23         A      Sure.    I am at Kent Police & Fire Training
24   Center located in the Kent, Washington, in a small
25   conference room.


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     Case 2:20-cv-00771-BJR Document 72-1 Filed 03/12/21 Page 35 of 112
                         [Examination by Mr. Sims]

                                                                   Page 162
1    continue through going westbound on 244th Street
2    another block, and it turns to the north into a
3    cul-de-sac.
4          Q      So let's focus for just a moment.           We
5    talked about the travels and the chase on 104th
6    Avenue Southeast that then went westbound on
7    Southeast 244th Street.         And you confirmed that
8    there were no pedestrians, no vehicles.             Did you
9    also observe Mr. Giovonn Joseph-McDade use his turn
10   signal at any point in time between 104th and the
11   time that you were just about to leave 244th Street?
12         A      I'm sorry, which timeframe?          Between which
13   sections?
14         Q      From the time of the initial chase at
15   104th Avenue Southeast to the time period where you
16   were just about to complete the chase at 244th prior
17   to entering the cul-de-sac.
18         A      Yes.   He had it on a number of times.
19         Q      So what do you mean "a number of times"?
20   Was it turned off, turned on?          What do you mean by
21   that?
22         A      He had both his left and right signals on
23   a couple times through the pursuit.
24         Q      Were the turn signals right and left going
25   the entire time or were they turned on, turned off


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     Case 2:20-cv-00771-BJR Document 72-1 Filed 03/12/21 Page 36 of 112
                          [Examination by Mr. Sims]

                                                                   Page 163
1    at different times?
2          A      From what I recall, it was different times
3    through the pursuit.
4          Q      At what point in time do you recall the
5    signals being used by Mr. Giovonn Joseph-McDade?
6          A      As soon as he initially left the
7    Applebee's lot and he came out on 104th and turned
8    northbound, he turned his right signal on for a
9    block or two, if I had to say.           And then turned it
10   off and continued northbound.          And then turned it
11   back on when he was making a westbound turn onto
12   Southeast 244th Street.
13         Q      Which signal was turned on when
14   Mr. Joseph-McDade went westbound to 244th Street?
15         A      His driver's side left-hand signal.
16         Q      And as he was making the turn onto 244th,
17   he turned on his left signal.          What direction was he
18   turning?     Left or right?
19         A      Left.
20         Q      Did you recall ever seeing
21   Mr. Joseph-McDade use his turn signal at any other
22   times outside of the two occasions in which you just
23   told us about?       At any point during the chase.
24         A      Those are the only two I recall
25   specifically.


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     Case 2:20-cv-00771-BJR Document 72-1 Filed 03/12/21 Page 37 of 112
                          [Examination by Mr. Sims]

                                                                   Page 167
1    lights were illuminating but his turn signal was
2    illuminating as well; is that correct?
3          A      From what I recall, yes.
4          Q      As Mr. McDade made his way around the
5    roundabout, do you know where Officer Rausch was at
6    this point in time?        I'm sorry, Officer Davis.
7          A      He was right behind me.         I don't recall
8    exactly where he was.
9          Q      Did Mr. Joseph-McDade successfully
10   navigate his way around the roundabout prior to
11   entering the cul-de-sac?
12         A      It appeared so, yes.
13         Q      And to make sure that we're on the same
14   page, a roundabout is essentially a cement circle or
15   something like that in the middle of the road that
16   causes people to slow down and then drive around in
17   order to get to the street that they want to get to?
18         A      Correct.
19         Q      It wasn't the best technical explanation,
20   but you agree with me on that?
21         A      Yeah.    That was a decent explanation.
22         Q      And did Mr. McDade run over the roundabout
23   as he was negotiating the turn?
24         A      No, not that I recall.
25         Q      Do you know Mr. Joseph-McDade's speed that


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                         [Examination by Mr. Sims]

                                                                   Page 169
1    in his car?
2          A      No.   I wasn't looking at my speedometer.
3          Q      Did you notice any witnesses present as
4    you entered the cul-de-sac?          I'm sorry, any
5    pedestrians.
6          A      None that I observed, no.
7          Q      Let me ask a clean question.          As you
8    entered the cul-de-sac, did you witness any
9    pedestrians in the area of the cul-de-sac?
10         A      I don't.    I didn't observe any.
11         Q      As you entered into the cul-de-sac, did
12   you observe any vehicles that were parked on the
13   side of the road in the cul-de-sac?
14         A      No.   From what I recall, the vehicles were
15   in the driveways.
16         Q      When you entered the cul-de-sac, did
17   you -- up into the point in time where you attempted
18   a second vehicle collision, did you observe
19   Mr. Joseph-McDade drive his car onto the sidewalk in
20   the cul-de-sac?
21         A      No.   And I didn't attempt a vehicle
22   collision.     I attempted a PIT maneuver.
23         Q      How fast were you driving when you
24   attempted this second maneuver at the -- within the
25   cul-de-sac?


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                                                                   Page 206
1                        REPORTER CERTIFICATE

2                 I, Carol A. Haas, Certified Court

3    Reporter, do hereby certify that there came before

4    me via videoconference on December 16, 2020,

5                           MATTHEW RAUSCH

6                 Who was by me first duly sworn; that the

7    witness was carefully examined, that said

8    examination was reported by myself, translated and

9    proofread using computer-aided transcription, and

10   the above transcript of proceedings is a true and

11   accurate transcript of my notes as taken at the time

12   of the examination of the witness.

13                I further certify that I am neither

14   attorney nor counsel for nor related nor employed by

15   any of the parties to the action in which this

16   examination is taken; further, that I am not a

17   relative or employee of any attorney or counsel

18   employed by the parties hereto or financially

19   interested in this action.

20                Dated this 19th day of December, 2020.

21

22

23

24                ____________________________

25                Carol A. Haas, RPR, CCR, CSR


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                     EXHIBIT
                        4
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                                                                               Rausch

-~
 ... ...........
'-"""' KENT
                                                                                   10
                                                                                 12/16/2020
         POLICt
                               Kent Police Department
                   Order to Provide Statement and Garrity Warning

Case: Ke nt Case No. 17-9738 and All Associated Cases From Kent and
Outside Agencies

I, Matthew Rausch , understand that I am being questioned as part of an official
Investigation of the Valley Investigations Team into the above case. I understand
that I have been directed by Chief Thomas to provide a written statement and/or
answer quest ions related to the performance of my official duties or my fitness to
perform those duties. This direction constitutes an order to provide a written
statement and/or answer questions. I understand that if I refuse t o provide a
written statement or answer questions, or fail to do so truthfully, t hat refusal or
fai lure, in and of itself, m ay constitute conduct that warrants employment
discipline, up to and Including ter mination .

I understand, however, that I am entitled to the right not to be compelled
to incrim inate myself as guaranteed by the laws and the Constitutions of
the state of Washington and the United States. As such, If I do provide a
statement and/or answer questions, neither my statements or answers,
nor any information o r evidence that is gained by reason of those
statements or answers, can or will be used against me in any criminal
proceeding.

While I understand that my statements, answers, or any information or evidence
that is gained by reason of my statements or answers cannot be used against me in
any criminal proceeding, I further understand t hat these statements and answers
may be used, and may be used against me, during the course of a non-crimina l
review of my conduct by the Kent Police Department, whether by way of board
review, internal affairs, and/or another employment review or investigation
process.

I have read and understand this document in its entirety, understand its terms, and
I:

Ji( Ag ree to truthfully answer questions.
0    Refuse to answer questions.

I additionally acknowledge that I signed this document prior to the commencement
of the investigative Interview or prior to providing my written statement.


Officer~                  Signature                       Date and T: e
                                                                        1 :~Z'f
Witness: _ _       c;.
                   _-..::,~il
                           ~::~,,_!.~111!•0~--~---­        a (-z "r.loet3L
                            S/g~tu~                       Date and Time




                                                                 Joseph-McDade_I 0020
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                                      Compelled Statement
                                       of Matthew Rausch

        I, Matthew Rausch, understand that I am being questioned as part of an official
 investigation of the Valley Investigations Team into the above case. I understand that I have
 been directed by Chief Thomas to provide a written statement and/or answer questions related
 to the performance of my official duties or my fitness to perform those duties. This direction
 constitutes an order to provide a written statement and/or answer questions. I understand that if
 I refuse to provide a written statement or answer questions, or fail to do so truthfully, that refusal
 or failure, in and of itself, may constitute conduct that warrants employment discipline, up to
 and including termination.

        I understand further that I am entitled to the right not to be compelled to incriminate
 myself as guaranteed by the laws and the Constitutions of the State of Washington and the United
 States. As such, if I do provide a statement and/or answer questions, neither my statements or
 answers, nor any information or evidence that is gained by reason of those statements or answers,
 can or will be used against me in any criminal proceeding. I understand that my statements,
 answers, or any information or evidence that is gained by reason of my statements or answers
 cannot be used against me in any criminal proceeding.

        I have been a po lice officer since 2015. I attended the 720 hour BLEA, and have received
numerous additional trainings since then, including in the areas of deadly force, EVOC, and
vehicle stops.

       On June 24, 2017 I was on routine patrol in the city of Kent, county of King, state of
Washington. I was driving a fully marked department police patrol vehicle. It was equipped with
functioning emergency lights and audible siren that I function tested at the beginning of my shift,
which was from 8:00 PM to 6:00 AM. I was also wearing a fully marked Police Jumpsuit.

       Nothing of note had happened prior to this incident. At about 0005 hours, I entered the
ARCO AM/PM gas station's parking lot located at 10402 SE 256th St. I entered the lot from the
south entrance and noticed a tan l 990's, four door Honda near the gas pumps. It was bearing WA
plate #AJZ1572.

        There appeared to be two occupants in the vehicle; a driver and front passenger. There was
a third male walking towards the car as I entered the lot. This male was smiling and laughing as
he was approaching the Honda. He opened up the rear passenger side door and was about to get
inside when he looked over at me pulling into the lot in my police vehicle. The male stopped for
a moment and then had a scared look on his face. He appeared hesitant now to enter the car and
looked around the rest of the parking lot. He then slowly entered the car as if not to draw attention
to himself.

     I know based on my training and experience that 1990's-early 2000's Honda sedans are
commonly stolen vehicles. Vehicle theft is a significant problem in Kent. I ran a routine




                                                                                 Joseph-McDade_I 0021
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WACIC/DOL inquiry of the Honda and it returned to a 1994 Honda Accord that had expired and
cancelled registration.

        The driver then pulled away from the gas pumps and towards the 104th Ave SE
entrance/exit. I followed in my vehicle. As we were slowly driving through the lot the driver
turned his head all the way around and was watching me as if he was trying to see what I was
going to do. In this light, he appeared to be a white male, possibly Hispanic. He saw I was headed
the same direction and he quickly turned back around in the lot and pulled back up to a gas pump.
The driver's behavior was very odd and it appeared as if he was trying to avoid being stopped or
confronted by me. I then drove around all of the gas pumps and saw that the driver had exited the
Honda, leaving his door wide open. I was unsure of where he went. The two other occupants of
the vehicle were now watching me as I proceeded through the lot.

        I exited the ARCO and went north on 104th Ave SE about a block or so before turning off
to see ifl could observe the Honda. I could still see it was parked at the gas pumps.

        The occupants of the Honda were behaving very strangely and I believed that possible
criminal activity was occurring. I watched for a few moments and I saw the rear passenger step
out of the vehicle and look around the ARCO lot. It appeared to me that he was looking for my
police vehicle. The male then slowly walked away from the vehicle towards 104th Ave SE. I then
saw the driver get back into the driver's seat of the Honda. The vehicle then pulled away from the
pumps and back towards 104th Ave SE.

        Based on the occupant's suspicious behavior and what I had observed, I believed I may
have stumbled across a "hand to hand" narcotics sale. I know based on my training and experience
that drug users and drug dealers will often meet at locations to buy/sell illegal narcotics.
Specifically, I know that the area of 104th Ave SE I SE 256th St is a high crime area and has been
identified by our department as an area that needs additional police presence. I have personally
made and assisted fellow officers make numerous drug related arrests in this area.

        The Honda exited the ARCO and headed north on 104th Ave SE. I was on the west side
of 104th Ave SE and pulled out behind the Honda to conduct a traffic stop. I saw the driver of the
Honda look over at me as I was crossing over 104th Ave SE to get behind the vehicle. He quickly
turned into the Apple bee's parking lot located at 25442 104th Ave SE, Kent, WA. The Honda
pulled into a parking space and stopped as I entered the Apple bee's lot.

        I advised over the radio that I was making a traffic stop and I activated my overhead
emergency lights. I could see they were functioning properly as the red and blue lights reflected
off my surroundings. I pulled behind the Honda and stopped. Before I could advise where I was
or the vehicle I was with, the driver of the Honda opened his door, stepped out and faced me.

        I exited my vehicle and based on my training and experience ordered the driver to get back
into his car. The driver got back into his vehicle. I then advised dispatch I was at Apple bee's and
provided the license plate of the Honda. Additionally, I asked for a second unit to assist me
because the behavior of the driver was causing me concern.



                                                 2




                                                                            Joseph-McDade_I 0022
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        I heard Officer Davis answer over the radio that he would be in route to assist me. As he
said this over the radio the driver of the Honda placed the vehicle in drive and quickly accelerated
out of the parking spot and onto 104th Ave SE. The vehicle made no attempt to slow down or stop
to check for traffic as he attempted to accelerate away from me. I followed and advised dispatch
I was trying to get on the radio but was getting interrupted by other radio traffic. After a few
seconds, I was finally able to advise dispatch that I was in pursuit of the Honda. My emergency
lights were still activated. I activated my audible siren and could hear it functioning properly.

         The Honda headed north on 104th Ave SE. I advised via the radio the reason for my stop
(traffic infraction), that there was no traffic at this point, and he was traveling at about 50 mph.
He was in the northbound lanes. At about the 25000 block or so he slowed to about 30 mph. It
appeared he was trying to find a spot to stop in order to run from the vehicle. He then quickly
accelerated to about 60 mph. We continued northbound and crossed the intersection of 104th Ave
SE and SE 248th St through a green light. It should be noted that the posted speed limit on 104
Ave SE is 35 mph. The area commonly has lots of pedestrian traffic.

        I could now see a police vehicle with emergency lights approaching me from behind. As
the Honda approached SE 244th St., the driver slowed and entered the center turn lane, turning
westbound on SE 244th St. Officer Davis then advised he was behind me and would now be
"calling" the pursuit. I attempted to PIT the vehicle as we went up the slight hill in about the 10300
block of SE 244th ST. My attempt to PIT was unsuccessful as I was unable to achieve proper
vehicle positioning. I did not make contact with the vehicle during this PIT attempt.

       The Honda continued westbound and entered the roundabout at SE 244th St and 1OOth Ave
SE. The Honda entered and drove counter clockwise around the roundabout. I followed him. The
Honda tried to continue southbound on 1OOth Ave SE but Officer Davis was able to enter the
roundabout clockwise and cut it off. The Honda then accelerated westbound, continuing on SE
244th St. I again followed.

        This portion of SE 244th St turns to the north and into a cul-de-sac at about the 9900 block.
The Honda entered the cul-de-sac and drove to the north side. It turned to its left and I conducted
a PIT on the vehicle. The PIT caused the Honda to spin and face towards the south. My car ended
up facing north. However, the PIT did not disable the vehicle and it continued to try and evade
Officer Davis and me. The suspect tried to drive around Officer Davis to our west but he was able
to cut off the suspect's route. The Honda drove up and onto to a resident's front yard and driveway
trying to again evade capture. Officer Davis cut off his route by using his patrol vehicle. The
Honda was now boxed in to the front by a house on its passenger side and Officer Davis' vehicle
on its driver's side. The Honda was on the passenger side of Officer Davis' vehicle at an angle to
his vehicle. The fronts of the cars were closer than the rears.

       As this was unfolding, I was turning my vehicle around and heading over to pin in the
Honda to prevent it from moving backwards and end the pursuit. Seeing that the driver was now
driving into a residential area and into a home's yard to try and evade capture, he was a danger to
the public and needed to be stopped.




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                                                                               Joseph-McDade_I 0023
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        For a few seconds I thought that the pursuit was now over. The Honda was safely boxed
in between the house and Officer Davis's vehicle and it appeared as if the Honda would not be
able to get away.

        I saw Officer Davis exit his patrol vehicle and run around the rear of his vehicle to the rear
passenger side corner near his tail gate and safely out of the way of the Honda. His duty pistol
was drawn and pointed at the driver. He was yelling at the driver of the Honda. I was not able to
make out his commands because there was a great amount of noise from the suspect's engine
revving and my siren, but I could hear his voice yelling and I could see his lips moving. I could
hear the Honda's engine revving very loudly over my loud audible siren. I saw the driver of the
Honda look over his left shoulder at us and he had determined look on his face. It appeared he
was trying to get the Honda into a gear but was struggling.

        The Honda then quickly reversed and turned, orienting itself towards Officer Davis who
was behind his vehicle. I was unable to pin the Honda from behind when it was stopped on the
yard because I could not get there in time after the PIT. Officer Davis was now directly behind
his patrol vehicle and still yelling at the driver of the Honda. His duty pistol was still out and
pointed at the Honda. The front driver's side of my patrol vehicle was to Officer Davis' right and
the Honda was about 15 or more feet in front of him. I could clearly see Officer Davis illuminated
by the Honda's head lights, as they were on and pointed directly at him now. I also recognized that
Officer Davis was wearing a fully marked Police Jumpsuit.

        I again heard the engine of the Honda revving very loudly. In a very short period of time,
it accelerated toward Officer Davis. Officer Davis was in the direct path of the Honda and it
appeared that the Driver was intentionally attempting to drive his vehicle straight at Officer Davis
to run him over. The Honda could have continued in reverse to get greater distance from him
before accelerating forward, or it could have turned to its left to avoid him altogether. However,
the driver clearly chose to try to run Officer Davis over. Due to the positioning of the suspect
vehicle and Officer Davis, I believed he was great danger of being struck by the suspect vehicle.
As the driver accelerated the vehicle, I saw the driver duck behind the dash of the vehicle as if to
avoid being shot. There was now only a small space between Officer Davis' patrol vehicle and
mine where he was standing that the Honda was trying to get through.

        I was so concerned that the Driver was going to run Officer Davis over, I pushed the
accelerator in my vehicle to the floor, attempting to force the vehicle to stop or change directions
to prevent it from hitting Officer Davis, or at least slow it down so it did not strike Officer Davis
with as much speed. I was unable to get in front of the Honda and my vehicle struck the Honda
somewhere on the driver's side. I was able to slow the vehicle down a little. I later observed
significant damage to the front of my vehicle. At about the same time as I struck the Honda, Officer
Davis discharged his pistol through the front windshield of the Honda.

        The Honda was able to get by my vehicle and take off out of the cul-de-sac. I lost sight of
Officer Davis for a moment and feared that he had been struck. I then saw that he somehow wasn't
hit or was still standing after being hit by the Honda and he was standing near the back of his patrol
vehicle.



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                                                                               Joseph-McDade_I 0024
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        I aired "Shots fired" via my radio and advised the Honda was traveling east bound back
onto SE 244th St. Officer Davis entered his vehicle and we went after the Honda again. The
Honda made a deliberate left turn out of the cul-de-sac that lead me to believe he was still trying
to escape. The Honda then drove up over the curb on the south side of SE 244th St, down a slight
grass decline, and into Canterbury Park where it came to rest.

        I saw the front passenger exit and begin to run west before giving up and dropping to the
ground. Officer Davis exited his vehicle and I did the same. I drew my duty weapon and ordered
the passenger to stay on the ground and not to move. He said something along the lines of, "I
don't know why he ran!" I again ordered him to stay on the ground. I could see the driver slumped
over the center console and into the passenger seat. He was not moving.

       Additional officers arrived moments later and detained the passenger. The Assisting
Officers and I approached the Honda to detain the driver and provide medical aid. The driver's
door was locked and the Honda was still in drive with the engine running. Fearing that the Honda
might be able to move, I smashed the driver's window and opened the door. I put the Honda into
Park and turned the vehicle off.

        The driver was pulled out from the passenger side door. Officer Davis began making
lifesaving efforts by giving CPR. An Officer took Officer Davis' place, attempting lifesaving
efforts. I overheard one of my fellow officers asking if anyone had a chest seal for a gunshot
wound. I carry a trauma kit in the front passenger seat of my patrol vehicle and I ran back to my
vehicle, grabbed my trauma kit, and gave it to the officers providing lifesaving efforts on the driver.



                                                                         ~     Matthew Rausch
                                                                               June Z-'9 , 2017




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                                                                               Joseph-McDade_I 0025
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                     EXHIBIT
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~KENT
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          POLICE
                                     Kent Police Department
                         Order to Provide Statement and Garrity Warning

case: Kent Case No. 17-9738 and All Associated Cases From Kent and
Outside Agencies

I, William Dayis, understand that I am being questioned as part of an official
investigation of the Valley Investigations Team Into the above case. I understand
that I have been directed by Chief Thomas to provide a written statement and/or
answer questions related to the performance of my official duties or my fitness to
perform those duties. This direction constitutes an order to provide a written
statement and/or answer questions. I understand that if I refuse to provide a
written statement or answer questions, or fail to do so truthfully, that refusal or
failure, in and of itself, may constitute conduct that warrants employment
discipline, up to and including termination.

I understand, however, that I am entitled to the right not to be compelled
to incriminate myself as guaranteed by the laws and the Constitutions of
the state of Washington and the United States. As such, if I do provide a
statement and/or answer questions, neither my statements or answers,
nor any Information or evidence that Is gained by reason of those
statements or answers, can or will be used against me in any criminal
proceeding.

While I understand that my statements, answers, or any Information or evidence
that is gained by reason of my statements or answers cannot be used against me in
any criminal proceeding, I further understand that these statements and answers
may be used, and may be used against me, during the course of a non-criminal
review of my conduct by the Kent Police Department, whether by way of board
review, internal affairs, and/or another employment review or investigation
process.

I have read and understand this document in its entirety, understand its terms, and
I:

<   Agree to truthfully answer questions.

D   Refuse to answer questions.

I additionally acknowledge that I signed this document prior to the commencement
of the investigative interview or prior to providing my written statement.


Officer:-~~~
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                                                             Date and Time
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                               COMPELLED STATEMENT
                                 OF WtLLIAM DAVIS
                                   June 29, 2017

       I, William Davis, understand that I am being questioned as part of an official
 investigation of the Valley Investigations Team into the above case. I understand that I
 have been directed by Chief Thomas to provide a written statement and/or answer
 questions related to the performance of my official duties or my fitness to perform those
 duties. This direction constitutes an order to provide a written statement and/or answer
 questions. I understand that if I refuse to provide a written statement or answer
 questions, or fail to do so truthfully, that refusal or failure, in and of itself, may constitute
 conduct that warrants employment discipline, up to and including termination.

       I understand further that I am entitled to the right not to be compelled to
 incriminate myself as guaranteed by the laws and the Constitutions of the State of
 Washington and the United States. As such, if I do provide a statement and/or answer
 questions, neither my statements or answers, nor any information or evidence that is
 gained by reason of those statements or answers, can or will be used against me in
 any criminal proceeding. I understand that my statements, answers, or any information
 or evidence that is gained by reason of my statements or answers cannot be used
 against me in any criminal proceeding.

        I initially attended the POST Academy in another state where I received a week of
EVOC training, use of force training, vehicle stops and deadly force trainings. I attended
approximately three Firearms instructor trainings that each had a component of force
training. At my first employment, I held the following positions: K9 handler (patrol and
narcotic K9's), patrol supervisor, tactical team member, team leader for the tactical team,
firearms instructor, DT instructor, plain clothes narcotics, highway drug interdiction,
search and rescue, and an FTO.

        Since my lateral transfer to Kent Police Dept., I have received at least the following
training. I completed the lateral academy through WSCJTC; an initial training period when
I started that went over use of force, deadly force, firearms, etc.; a yearly deadly force
review and update class during block training; quarterly Use of Force training; the active
shooter Force on Force training; two full day EVOC courses and one low light backing
course; several block trainings where traffic stops were practiced; block trainings where
use of force is used and practiced during scenarios several times a year; regular briefing
trainings about force; two Firearms instructor courses; DT instructor course; and PIT
training yearly. While at Kent PD I have been a Patrol Officer, FTO, Firearms instructor,
and DT instructor.

       On June 23, 2017 in Kent, Washington I was assigned to routine patrol for the
 8:00 PM to 6:00 AM graveyard shift. I was wearing my Kent Police Department issued
 uniform. This uniform has a cloth badge on the left chest, Kent Police Department
                                                 1




                                                                             Joseph-McDade_I 0027
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patches on both arms and, "POLICE" in large reflective letters across the back. I was
driving a black and white Tahoe that was clearly marked as a Police patrol vehicle with
emergency lights on top, front, both sides, and the rear of the vehicle. I had a ride-
along passenger in the front seat. My radio call number that night was 2K44.

      The shift had been fairly routine until this incident. I had just finished taking a call
for service about a barking dog complaint. I then parked in the Schlotzsky's parking lot
on 256 ST to complete the barking dog complaint by telephone. At approximately 0016
hours, I heard Officer Rausch advise dispatch that he was going to be out on traffic at
the Applebee's location at 25442 104 Ave SE Kent, WA. As soon as he advised
dispatch that he would be out on traffic he requested a second unit.

      I responded over the radio to dispatch that I was only a few blocks away and I
would back up Officer Rausch. I pulled onto 256 ST from the parking lot and drove
towards 104 Ave. As I was approaching the intersection of 104 Ave and 256 ST, I
heard Officer Rausch advise dispatch that the vehicle was taking off on him and that he
was in pursuit.

       I activated my emergency lights and siren. I cleared the intersection and turned
north onto 104 Ave. I then drove north on 104 Ave to catch up to Officer Rausch and
the fleeing vehicle. The pursuit speeds at this point had varied frorn 20-60 miles per
hour. There was very little traffic on 104 Ave at this time.

      I caught up to Officer Rausch near the 24600 block on 104 Ave. Just as I caught
up the vehicle turned west onto 244 St. I advised dispatch that I was the second unit in
the pursuit and that 1 would be conducting radio communications for the pursuit.
Officer Rausch attempted to perform a Pursuit Interdiction Technique (PIT). He
attempted this on the driver's side of the vehicle. Officer Rausch did not appear to
have made contact with the vehicle.

       The suspect vehicle then accelerated and continued to travel west bound on 244
ST. We approached 100 Ave on 244 ST. I advised dispatch of our location and
direction of travel. The intersection at 244 St and 100 Ave has a roundabout as a
traffic control device. The suspect vehicle and Officer Rausch went around the right
side of the roundabout. I went around the left side of the roundabout in the opposite
direction. I intended to intentionally strike the vehicle at low speeds in an attempt to
stop this pursuit.




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       As the suspect vehicle came around the roundabout I was unable to intentionally
strike it. When the suspect vehicle cleared the comer, I was positioned so that if I
intentionally struck it I would have struck the driver's side door. Striking the driver's
side door is considered lethal force. I did not believe that the suspect's actions had
risen to that level of force at that point in time, and therefore I intentionally avoided any
contact with the suspect's vehicle.

      The vehicle then accelerated and traveled westbound on 244 St again. I slowed
down to let Officer Rausch pass so that we did not hit each other. I advised dispatch
of our current direction of travel. I also advised that the road was a dead-end in the
cul-de-sac.

       Shortly after this the vehicle turned northbound onto 99 Ave and into the cul-de-
 sac. The vehicle held to the east side of the cul-de-sac. At this point, it appeared that
 Officer Rausch attempted another PIT on the vehicle. It appeared that he made
 contact, but the PIT was not effective in disabling the suspect vehicle. Officer
 Rausch's vehicle ended up pointing to the north. The suspect vehicle then continued
 around the apex of the cul-de-sac.

        When I saw this, I turned and took a shorter path around the curve of the cul-de-
sac. I again was intending to intentionally strike the vehicle. As I positioned my patrol
vehicle to strike the suspect vehicle, the suspect accelerated. When he did this, it once
again positioned our vehicles so that if I was to strike him, it would have been in the
driver's side door. I still did not believe that that level of force was appropriate at this time.

       I was able to see that there were two occupants of the vehicle. As the vehicle
 navigated the corner, I was able to drive beside him and slowly force him off of the
 roadway without making contact. We were traveling at approximately 10 miles an hour
 as I boxed the suspect vehicle in. The cul-de-sac was a residential area that was lined
 with houses. There were several vehicles parked in the driveways along this route.

       I continued to direct the vehicle towards the parked vehicles without making
 contact. At this point, the suspect vehicle could not go forward any further and
 stopped. I exited my patrol vehicle and went around the back of my patrol vehicle. I
 saw that the suspect vehicle had stopped. My emergency lights were all still activated
 but the siren cut out when I put the patrol vehicle in park.




                                                                            Joseph-McDade_I 0029
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       The driver was looking straight ahead. I covered the driver and his passenger
with my pistol (a Glock Model 34 in caliber 9 MM) and said something to the effect
of, "turn the car off." The suspect did not turn the car off but it did not move either. I
took approximately two steps forward which put me near the suspect's driver's side
window.

       I hit his window with my sidearm and told him to tum the car off. The driver
 continued to look straight ahead. The passenger appeared to raise his hands and
 then grab for the door handle as though he was trying to exit the vehicle. I assumed
 that he was either going to surrender or flee.

       The driver suddenly put the car in reverse and backed up quickly. When he
 started moving backwards I moved to the rear driver's side of my patrol vehicle. I
 was approximately 3 yards behind my rear bumper and off to the side. The driver
 pulled backwards and turned approximately 90 degrees. He had started out facing
 south, and now he had reversed and turned the vehicle until he was facing east,
 placing my vehicle and myself directly in his path

       I challenged the driver by holding my firearm at low ready with the weapon
 mounted flashlight turned on. In a loud and clear voice I yelled, "Police Stop."
 When I did this I clearly saw the driver raise his hands above his head. He crossed
 his arms in front of his face. I took this as a nonverbal communication that he was
 giving up. In my mind the next step was to initiate a felony stop as the driver had
 surrendered. I was prepared to hold the suspects at this location until enough units
 arrived to safely complete the felony stop. The possible movement of the suspect
 vehicle was blocked to the front, but not to the rear as Officer Rausch had not yet
 arrived to block him after the PIT attempt.

       As I was positioned there I heard the engine of the suspect vehicle rev up. The
vehicle could have continued in reverse and moved further away from me and then
driven forward. Or it could have turned to its left and driven yards away from me as he
was not blocked in to that side yet. Instead, the vehicle then launched directly at me
from approximately 2-3 car lengths away. As the vehicle accelerated towards me, I
was in fear for my life as I did not have enough time to move behind my vehicle. I
might fall if I ran backwards, and I could not safely turn my back to the car to run
forward. I thought it was a certainty that the vehicle was attempting to strike me as it
was driving directly towards me. Even if I had been able to retreat behind my bumper,
the suspect could have rammed my vehicle and pushed it in to me. If he struck the
passenger side door he could injure or kill my ride-along. At this point the vehicle
could have turned to its left {north) to go around me. It did not do this. The driver was
targeting me with the vehicle.

       I raised my sidearm to shoot the driver in an attempt to stop him from running
me over. As I did this I could see the driver clearly. He was looking out the windshield
in my direction. This also reaffirmed my belief that he was targeting me and I was
about to be struck by the car.

       About this time Officer Rausch came in from my right and rammed the suspect
vehicle with his patrol car. Officer Rausch struck the driver's side of the suspect car



                                                                         Joseph-McDade_I 0030
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with the front of his patrol car. I could see that Officer Rausch's patrol car was now
imbedded into the suspect's vehicle. The suspect vehicle did not stop driving towards
me. It slowed down during impact then the engine revved up again and it pulled
forward away from Officer Rausch's patrol car.

       This is what I knew at this point. We had been involved in a pursuit with this
vehicle. The driver was very determined not to be taken into custody. His vehicle had
been struck twice by Officer Rausch and he was not stopping. The passenger of the
vehicle appeared to have been trying to get out of the vehicle when it had stopped.
The driver had appeared to submit when he saw me with my firearm pointed at him.
After apparently submitting to arrest he had accelerated directly at me. Based on the
driver's action and direction of the vehicle, the driver was trying to strike me with the
vehicle. Based on my training and experience, the human body is not designed to be
struck by a moving vehicle. This leads to serious injury and death. After being struck
by Officer Rausch's vehicle the suspect vehicle accelerated again coming directly at
me. The driver was very committed to escaping and might go to any lengths to do so. I
was afraid that I was going to be seriously injured or killed by the vehicle when it
struck me.

        Based on these facts I was in a deadly force situation. In an attempt to stop the
driver from running me over, I fired twice from my duty pistol as the suspect vehicle
continued to drive at me. At this point I was in front of the vehicle on the passenger
side of the hood. Prior to Officer Rausch striking the vehicle I could plainly see the
driver. After the intentional striking the windshield seemed to shatter and I could not
clearly see the driver. The driver continued to accelerate. I may have moved a short
distance backwards as the car accelerated towards me. Officer Rausch's contact with
the suspect vehicle slowed it down enough to allow me to escape serious injury or
death.

       As the vehicle passed me I was able to look into the passenger compartment
through the passenger side window. I could clearly see the passenger curled up in a
ball on the seat. His head was down and his hands were over his head in a defensive
posture. This suggested to me that the passenger clearly knew I was a police officer
ordering the car to stop with my weapon drawn and pointed at the windshield. As the
car passed me, the mirror missed me by less than a foot. I was so close to the vehicle
that I could only see part of the passenger through the window as I looked down
through it. The car did not stop at this point but tried to leave the same way it had
come into the cul-de-sac.

        I heard Officer Rausch advise dispatch that shots had been fired by 2K44 and
that the car had just tried to run over 2K44. I also advised dispatch that shots had
been fired and the driver had tried to run me over. I ran back to my patrol vehicle and
renewed the pursuit. I drove to the bend in the road at 99 Ave and 244 ST. From there
I could see that the suspect vehicle appeared to have run off the road and was
stopped in the park on the south side of the road. It was approximately 10-12 yards
off of the roadway facing east.

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                    I exited my patrol vehicle and took up a position to cover the driver. The driver
             of the vehicle was slumped over onto the front seat with his upper body lying on the
             seat with his head on the passenger side seat. His lower body was still in the
             driver's side floor compartment area. The passenger was out of the car and laying
             on the ground on his stomach his hands were up in a position of surrender.

                   I provided cover as other Officers arrived. Officer Rausch and another Officer
             detained the passenger. When the passenger was detained, Officer Lindstrom,
             Officer Morris and I moved to the vehicle. I tried to open the driver's side door but it
             would not open. I did notice that the window was either rolled down or gone.

                   When we could not get the suspect out, I went around the vehicle on the trunk
             side. I grabbed the front passenger side doori which was partially opened. When I
             went to open it further the bottom caught on the sidewalk. I grabbed the door and
             forcefully jerked it open far enough to get the suspect out.

                   Officer Lindstrom grabbed one arm and I grabbed the other arm. I believe I
             grabbed the suspect's right arm. We had to drag him across the seat. At one point
             his legs got caught in the driver's side floor area and I jerked on his arm to get him
             out.

                   As soon as we got him out of the vehicle we placed him on the ground. I
             started giving him chest compressions. I asked Officer Lindstrom to check the
             suspect for weapons as I continued to give him chest compressions. I believe I
             completed approximately 10-12 chest compressions before another Officer took
             over providing CPR.

                   I stepped away from the incident. I could hear Officers calling for a chest
             bandage and a defibrillator. I contacted Sgt. Vance and completed the Public
             Safety Notice with her.
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                                                                                     Joseph-McDade_I 0032
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                     EXHIBIT
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                     DES MOINES POLICE DEPARTMENT
                                          TRANSCRIPTION REQUEST



                                                      CASE        17-1559   CITE       Inv.
To
RECORDS
From                                                  Dateffime
Det. F. Gendreau                                      06-24-2017 / 1000




STATEMENT INFORMATION


Log#: :lZ             Length: =33=-----         Statement of Annamarie K. Decker
                                                                              (name)

D Victim       D Suspect IZ! Witness            D Other _ _ _ _ _ __

In Custody?:    D   YES                         N:/DriveFilename: 17-1559Decker


Comments: OIS investigation for Kent PD case #I 7-9738




RECORDS


Signature*(~ cf't0o?}1                             Date/Time Completed: (    ef~~ /f 1 03'5 4'

OFFICER

On the below listed date and time I received the transcribed statement from Records Unit. I have reviewed
the transcribed statement which is a true and accurate reflection of the recorded interview.




                                  Serial No.       Date/Time




                                                                             Joseph-McDade_I0279
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                            DES MOINES POLICE DEPARTMENT
                                      CASE: 17-1559
                               June 24th, 2017 at 0351 Hours
                                    Statement Taken By
                                  Detective Fred Gendreau
                                 Person Being Interviewed
                                   Annamaria K. Decker


FG       Alright. This statement concerns an investigation being conducted by the Des
         Moines Police Department under case number 17-1559; referencing Kent case
         number 17-9738. We're at the Kent Police Department. This is Detective
         Gendreau and present during this interview is Detective Mike Thomas and um,
         uh, Kent PD Officer Annamaria Decker. And Anna, you haven't gone through
         the academy yet, is that right?

AD       Yes sir.

FG       Okay. Today's date is July 24th, 2017 and the time is 0351 hours.         Um,
         Annamarie, are you aware that this statement is being recorded?

AD       Yes.

FG       And we have your permission to record this statement?

AD       Yes.

FG      Okay. Can you spell your, your first and last name for me?

AD       Yes. A-N-N-A-M-A-R-1-A D-E-C-K-E-R.

FG      Okay. So um, tonight or actually, what time did this happen on CAD?

MT      Started 0016.

FG      Okay. So it's the 24th stil l. What, tell us what uh, so since April you've, you
        were hired by Kent Police, right?

AD       Yes.

FG       And you have not gone through the academy and you've just been riding and
         working with Kent.



Specialist K. Larson/1401                                                         Page 1




                                                                     Joseph-McDade_I0280
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         on 244th and we'd seen the car to the right, in the park, like it had driven like,
         through the park and the passenger got out of the vehicle. He laid down on
         the ground with his arms out and just laid there. The driver, we, I couldn't see
         the driver and Officer Davis and Officer Rausch got out and had him at gun
         point and they waited for back up before they moved in. And then other officers
         came and they went to pull the driver out, they pulled him out through the
         passenger side of the vehicle and um, they started to do um, chest
         compressions on him. I'm not sure who started it, I didn't see that, but I, then
         I'd seen Officer Lindstrom take over and do chest compression and Officer
         Morris was there and he was um, asking for a um, the chest patches and then
         uh, Sergeant Vance arrived. Um, they started taping off the scene and
         eventually the um, paramedics arrived, or medic, or somebody arrived and then
         I was, I went behind the crime scene tape and they told me to just stay out of
         the .way.

FG       Okay. We'll probably go through that uh, a little bit slower,

AD       Okay.

FG       but that was,

AD       (Laughs)

FG       at least we have an idea of

MT       Yea.

FG       what happened here.

MT       When you said 108, you're talking about the street

AD       Street.

MT       108? Street, is where,

AD       Yes.

MT       okay. Okay.

FG       Do you know what the traffic stop initially was for, do you have any idea?

AD       I'm not sure, all I heard was a traffic stop.



Specialist K. Larson/1401                                                             Page3




                                                                         Joseph-McDade_I0282
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FG       Okay. And when you, did you see Officer Rausch with that vehicle in the
         Applebee's parking lot or just

AD       No,

FG       out on the street?

AD       they were on the street.

FG       Okay. So the vehicle was already not yielding to Officer Rausch at the time.

AD       Correct. We'd seen it had its blinker on. I could see that, but, and Officer
         Rausch was saying he thought it was going to be pull over, looking for
         somewhere, but it didn't.

FG       Okay. What did you see in reference to Officer Rausch's car? Did he have his
         lights and sirens on?

AD       He did have his lights and sirens on um, like I said I'd seen the vehicle with its
         blinker on, its right veh uh, right passenger side uh, blinker on.

FG       Mhmm (Affirmative).

AD       And I could just see Officer Rausch's car right behind him.

FG       Okay. And, and which direction on 108th are you going, north or south?

AD       We were going north.

FG       Okay. And um, how, how fast was this suspect vehicle going?

AD       Um, I heard him call out that it was going uh, 30 miles per an hour and then it
         dropped down to 20 and then I'm not sure what, how much it accelerated.

FG       So relatively slow?

AD       Yea.

FG       And can you describe for us, did that vehicle, that suspect vehicle, maintain that
         speed throughout this entire um, pursuit,

AD



Specialist K. Larson/1401                                                            Page4




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AD       Yes. When he went to back up, when he put his car, I could see him. Like
         when he put his car in reverse, um, he was not ducking down when he went to
         put it in drive and go forward . He ducked down and the passenger still had his
         hands out of the vehicle because um, I believe Officer Rausch and Officer Davis
         were yelling like get out of the vehicle. And um, so the passenger threw his
         hands out the window, trying to show that, you know, he was trying to be
         compliant and the driver put it in drive. I'd seen him duck down, like trying to
         get behind the wheel and go forward.

FG       Okay. Did you ever get out of the car?

AD       I did not get out of the car.

FG       Was Officer Rausch out of the car?

AD       I could not see, I do not know.

FG       You could hear him yelling, but

AD       I could hear him

FG       you couldn't see him.

AD       yelling, but I could not actually see him where I was at.

FG       Okay. Um, when the car, did Officer Davis have his lights and sirens activated

AD       Yes.

FG      too? Were they act.ive, were the sirens activated when they were yelling at the
        driver?

AD       Yes.

FG      Okay. Um,

(Clears throat)

FG      at the point where he backs this car up, what happens next?

AD       Um, he proceeded to go through, between both of the cars.



Specialist K. Larson/1401                                                         Page 12




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MT       ...... Okay.

FG      Are, is, are your patrol cars equipped with um, on board cameras?

AD       No uh, I don't believe they are, no.

FG       No, okay. Alright. I don't think I have any other questions.

MT       I don't think I do either.

FG       Do you? Is there anything else that you think that's important that we didn't
         ask you that we should know about? That you can remember?

AD       Uh, no I think we went over everything, everything that I'd seen.

FG       Okay. Um, do you certify or declare under penalty of perjury under the laws of
         the state of Washington that what you just told us, the foregoing is true and
         correct and that you're willing to testify to that in a court of law?

AD       Yes.

FG       Okay. This statement is concluded at 0423 hours on June 24l11, 2017.



Statement Participants
FG - Detective Fred Gendreau (Interviewer)
MT - Detective Mike Thomas (Interviewer)
AD -Annamaria K. Decker (Interviewee)

June 25th, 2017 at 0356 Hours
Case #17-1559




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                     EXHIBIT
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Detailed History for Police Incident #KP170044526 As
of 07/12/2017 09:53:49
Output for: DP0002

Priority: E Type: SHOTMP - Shooting Medic
Location: APPLEBEES, KEN at 25442 104TH AVE SE, KEN
LocCross :btwn SE 254TH PL and SE 256TH ST

!created: 1106/24/2017 00:16:31IIPD35        llvo126sl
IEntered:    11 06/24/2017 00:16:31IIPD35    llvo126sl
!Dispatch: 11 06/24/2017 00:16:31IIPD35      llvo126sl
IEn route:   11 06/24/2017 00:16:31IIPD35    llvo126sl
lonscene: 11 06/24/2017 00:16:31IIPD35       llvo1265I
ITransprt: 1106/24/2017 Ol:22:34IIPD35       llvo1265I
lcomplete:II06/24/2017 01: 34: 52IIKPM52SIIK19854I
!Closed:     1106/24/2017 10:15:32IIPD36     llvo11a3I

PrimeUnit: 5T59 Dispo: T Type: SHOTMP - Shooting Medic
Agency: KP Group: K2 Beat: K2 RD: KP280
XREF: Service: Fire Inc: KF170011787 Type: SHOTMF Agency: KF
Case#: CAP170007840, CKP170009738 ~ Detail

00: 16:31     CREATE   V01265/PD35          Location: APPLEBEES, KEN Type: T Group: Kl
                                            RD/MapBox: KP280 Plate: AJZ1572 TypeDesc: Traffic
                                            Stop LocDesc: at 25442 104TH AVE SE, KEN LocCross:
                                            btwn SE 254TH PL and SE 256TH ST Priority: 2 Agency:
                                            KP LocType: C
00:16:31      ENTRY    V01265/PD35          Plate: AJZ1572
00:16:31      DISPOS   V01265/PD35          2K21 Location: APPLEBEES, KEN Operator: K15250
                                            OperNames: RAUSCH, MATT
00: 16:31    -PRIU                          2K21
00: 16:31     RFT    V01265/PD35            2K21 Comment: INQUIRY CADQ,,,,,,,,,,,,,,AJZ1572,,,,,,,,
00: 16:31    -PREMIS                        Comment: PPR, FPR
00: 16:38     BACKER V01265/PD35            2K25 UnitID : 2K21 Location: APPLEBEES, KEN
                                            Operator: K57081 OperNames: REED, JACOB
00: 16:38     BACKER V01265/PD35            2K44 UnitID: 2K21 Location: APPLEBEES, KEN
                                            Operator: K94153 OperNames: DAVIS, WILL (FTO)
00:16:48      MISCN    V01265/PD35          2K21 Comment: NB 104, AIR CLOSED
00:17:03      MISCN    V01265/PD35          2K21 Comment: IN PURSUIT - TRFC VIOL. .. NO TRFC,
                                            SPEEDS 20, SLOWING DOWN
00:17:12      LOGM     V01304/PD36          Message: MSGID011706240717014821 MessageType:
                                            HTML Received: 06/24/2017 00: 16:37 Comment: TAN
                                            94 HOND ACCORD
00: 17: 12    MISCN    V01265/PD35          2K21 Comment: SPEEDS 30, TRYING TO FIND PLACE TO
                                            BAIL
00: 17:21     MISCN  V01265/PD35            2K21 Comment: APPR 248 , GRN LT, NB, SPEEDS 60
00:17:28      BACKER V01265/PD35            K913 UnitID: 2K21 Location: APPLEBEES, KEN
                                            Operator: K57815 OperNames: KALLIR, DAVE & KRIEGER



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                                      (SPAN)
00: 17:28    BACKER V01265/PD35       K914 UnitID: 2K21 Location: APPLEBEES, KEN
                                      Operator: K78061 OperNames: MILLS, CHRIS & GHOST
                                      (T/D)
00:17:33     MISCN    V01265/PD35     2K21 Comment: WB ON 244
00:17:53     MISCN    V01265/PD35     2K21 Comment: FAIL PIT, STILL WB
00: 18: 15   MISCN    V01265/PD35     2K44 Comment: CALLING PURSUIT .. GOING DOWN DEAD
                                      END 99/244
00:18:27     LOGM     V01265/PD35     2K21 Message: MSGID0ll 706240718014848
                                      MessageType: HTML Received: 06/24/2017 00:17:36
                                      Comment: DOL ON VEH
00: 18: 27   *BACKER K52246/KPM561    2K57 UnitID: 2K21 Location: APPLE BEES, KEN
                                      Operator: K52246 OperNames: BRATLIEN, ERIN
00: 18:48     MISCN  V01265/PD35      2K44 Comment: SHOTS FIRED - EB ON 244
00: 18: 53    MISCN  V01265/PD35      2K44 Comment: TRIED TO RAM 44
00: 18: 54   *BACKER K84124/KPM529    2K55 UnitID: 2K44 Location: APPLE BEES, KEN
                                      Operator: K84124 OperNames: LEVI, MATTHEW
00:18:58     -XREF                    Service: P Inc: #KP170044527 Type: OSA Agency:
                                      TP
00:19:00      MISCN   V01265/PD35     2K44 Comment: IN PARK
00:19:03     -XREF                    Service: P Inc: #KP170044528 Type: OSA Agency:
                                      DP
00:19:09      MISCN  V01265/PD35      2K44 Comment: 2 AT GP
00:19:13     *BACKER K45653/KPM527    2K41 UnitlD: 2K44 Location: APPLEBEES, KEN
                                      Operator: K45653 OperNames: CLIFT, JASON
00:19:26     MISCN    V01265/PD35     2K44 Comment: ENT OFF 100 - GO WB ON 244
00:19:32     MISCN    V01265/PD35     2K44 Comment: NEED AID, DRIVER OVER DRIVERS
                                      SEAT
00 : 19:44   BACKOS V01265/PD35       6K33 UnitID: 2K44 Location: APPLEBEE$, KEN
                                      Operator: K11768 OperNames: VANCE, HEATHER
00:19:50      ONSCN V01265/PD35       K913
00:19:51     *BACKER K91100/KPM520    2K33 UnitID: 2K44 Location: APPLEBEES, KEN
                                      Operator: K91100 K39049 OperNames: MEDINA,
                                      MICHAEL; WOLCOTT, T(VCDU,AFIS,FTO,PEER)
00:20: 13    *BACKER K58426/KPM567    2K43 UnitID: 2K44 Location: APPLEBEE$, KEN
                                      Operator: K58426 OperNames: BRENNAN, RANDY
00:20:17     CLOS     V01304/PD36     2K21 Location: CANTERBURY PARK, KEN
00:20:24     ONSCN    V01265/PD35     2K44
00:20:26     MISCN    V01300/PD39     Comment: TONED TO FEDERAL WAY
00: 20: 33   MISCN    V01265/PD35     2K44 Comment: NEED MEDICS
00:20:35     CLOS     V01304/PD36     2K44 Location: CANTERBURY PARK, KEN
00 : 20:38   BACKER   V01300/PD39     3W39 UnitID: 2K43 Location: APPLE BEES, KEN
                                      Operator: WP0234 WP0059 OperNames: AN, JAE; DAVIS,
                                      ERIC
00:20:38     BACKER V01300/PD39       3W26 UnitlD: 2K43 Location: APPLEBEES, KEN
                                      Operator: WP0201 OperNames: ANTHOLT, JUSTIN
                                      (VCDU, AFIS)
00 :20:44    *BACKER K51141/KPM550    6K37 UnitlD: 2K44 Location: CANTERBURY PARK, KEN
                                      Operator: K51141 OperNames: GROVE, ANDY
00: 21: 01   -ASSOC                   Service: F Inc: #KF170011787 Type: SHOTMF
                                      Agency: KF Comment: CANTERBURY PARK
00:21:31     -MISCA                   Comment: NEEDS MEDICS NOW, IN LIFE SAVING



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                                          MEASURES
00:21:33       MISCN  V01265/PD35         6K33 Comment: NEED FD TO GO IN
00:21: 34     *BACKER K6 7266/KPM 548     2K37 UnitID: 2K44 Location: CANTERBURY PARK, KEN
                                          Operator: K67266 OperNames: STEINER, SAM
                                          (AFIS/FTO)
00:21:37      BACKER V01300/PD39          3W14 UnitID: 3W26 Location: APPLEBEES, KEN
                                          Operator: WP0207 OperNames: BLACKSHEAR, RB
00:21:43       CLOS     V01304/PD36       6K33 Location: CANTERBURY PARK, KEN
00:21:47       ASSOC    V01244/FD23       Service: F
00:22:08      -MISCA                      Comment : ENTER OFF 100TH, WB ON 244- DRIVER
                                          DOWN IN PASSENGER SEATS
00 : 22: 22   *ONSCN K45653/KPM527        2K41
00:22:28      *ONSCN K58426/KPM 56 7      2K43
00:23:04       CHANGE V01265/PD35         6K33 Type: T--> SHOTMP Response: None --> F:3P1K1S
                                          Priority: 2--> E TypeDesc: Traffic Stop--> Shooting Medic
00:23:21      *ONSCN    K51141/KPM550     6K37
00:23:27      *ONSCN    K52246/KPM 561    2K57
00:24:15      *ONSCN    K91100/KPM 520    2K33
00:24:18       ASSOC    V01304/PD36       Service: F
00 : 24:32     ASSOC    V01302/FD22       Service: F
00:24:52       BACKOS   V01265/PD35       6K36 UnitID: 6K37 Location: CANTERBURY PARK, KEN
                                          Operator: K45645 OperNames: CLARK, TOM
00:25:00      CLOS      V01304/PD36       2K21 K913 K914 2K25 2K33 2K37 2K41 2K43 2K44
                                          2K55 Location: CANTERBURY PARK, KEN
00:25:00      CLOS      V01304/PD36       2K57 3Wl4 3W26 3W39 6K33 6K36 6K37 Location:
                                          CANTERBURY PARK, KEN
00:25:14      *CHGLOC   WP0207/WPM512     3W14
00:25:20       CHGLOC   V01304/PD36       3W14 3W26 3W39
00:26:35      -MISCA                      Comment : 6K33 INQUIRING ON ETA
00:28:44       MISCN    V01265/PD35       2K55 Comment: FD COMING IN
00:29: 15     *CHGLOC   K84124/KPM529     2KSS Location: 24200 100TH AVE SE, KEN Comment:
                                          BLOCKING TRAFFIC
00:29:17      *ONSCN    K84124/KPM529     2K55
00: 31: 22     MISCN    V01265/PD35       2K41 Comment: REQ W CITY TO RESPOND TO SHUT
                                          SPRINKLERS OFF IN PARK THAT TURNED ON
00:33:38      *CLEAR    WP0201/WPM561     3W26
00:33:41       PRMPT    V01300/PD39       3W39
00:33:43      *CLEAR    WP0207/WPM512     3W14
00:36:18      *CHGLOC   K57815/KPM547     K913 Location: STN Comment: TRANSPORT DECKER 19
00:40:01      *BACKER   K46135/KPM566     2K51 UnitID: 2K21 Location: CANTERBURY PARK, KEN
                                          Operator: K46135 OperNames: MURPHY, MATTHEW
                                          (VCDU)
00:41:54      *ONSCN    K57815/KPM547     K913
00:42:06      *RFT      Kl 1768/KPM 549   6K33 Comment: INQUIRY WANT,,,,CHEEKS,
                                          DEVONTE,07281997 ,,,,,,,,,,,,,,, ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
00:42:11       CHGLOC V01265/PD35         2K41 Location: STN Comment: W 2K44
00 :42:14     *LOGM   Kl 1768/KPM549      61<33 Message: MSGID0ll 706240742015398
                                          MessageType: Text Received: N Comment
00:42:16      *LOGM     Kl 1768/KPM549    6K33 Message: MSGID011706240742015399
                                          MessageType: Text Received: N Comment
00:42:23      * LOGM    K11 768/KPM 549   6K33 Message : MSGID0l 1706240742015404



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                                        MessageType: Text Received: N Comment
00:42:37     *RFT      K11768/KPM549    6K33 Comment: INQUIRY WANT,, 11 MCDADE,
                                        GIVONN, 10231996,,, ,,, ,,,,,,,,,, ,,, ,, ,,, ,,, ,,,,, ,,,,,,,, ,,, ,,,,
00:43:06     *RFT      K11768/KPM549    6K33 Comment: INQUIRY WANT,,,,MCDADE,GIVONN
                                        M, 10231996,,,,,,,,,,,,,,,,,,,,,,,,, 11,,,,,,,,,,,,,,,,, 11,
00:43:23     *RFT      K11768/KPM549    6K33 Comment: INQUIRY WANT,,,,MCDADE,GIVONN
                                        M, 10221996,,,, 11,, """"II,,,,,,,, 11 ,,, ,,,,, ,,, ,,,,, ,,,
00:43:37     *RFT      Kll 768/KPM549   6K33 Comment: INQUIRY WANT,,,,JOSEPH
                                        MCDADE,GIVONN M, 10221996,, ,,,,,, ,,,,,,,,, ,,, ,,,,, ,,,,,, ,,,
                                        llllflfflllll

00:43:45     *LOGM     Kl 1768/KPM549   6K33 Message: MSGID0ll 706240743015486
                                        MessageType: Text Received: N Comment
00:44:24     *LOGM     K11768/KPM549    6K33 Message: MSGID0ll 706240744015498
                                        MessageType: Text Received: N Comment
00:44:47      REDIR    V01304/PD36      Group: Kl --> K2
00:44:59      MISCN    V01265/PD35      6K36 Comment: ON TAC
00:45:05      CLOS     V01265/PD35      2K21 K914 Location: STN
00:46: 16    *SACKOS   K35735/KPM528    2K22 UnitID: 2K21 Location: STN Operator: K35735
                                        OperNames: CORTINAS, BRIAN
00:47:29     *MISCN    K35735/KPM528    2K22 Comment: WAS ONSCENE SINCE ABOUT 0020
                                        HOURS.
00:47:35     *CLEAR  K35735/KPM528      2K22
00:48: 14    *ONSCN K45653/KPM527
00:48:28      SACKOS V01304/PD36        4K12 UnitID: 2K57 Location: CANTERBURY PARK, KEN
                                        Operator: K65246 OperNames: GUNDERSON, GARRETT
                                        Comment: ARRIVED W/FIRST GROUP RIGHT AFTER
                                        SHOTS FIRES
00:48:28     SACKOS V01304/PD36         4K16 UnitID: 2K57 Location: CANTERBURY PARK, KEN
                                        Operator: K22318 OperNames: GOFORTH, SEAN
                                        Comment: ARRIVED W/FIRST GROUP RIGHT AFTER
                                        SHOTS FIRES
00:48:31     SACKOS V01265/PD35         2K53 UnitID: 2KSS Location: 24200 100TH AVE SE, KEN
                                        Operator: K19854 K77681 OperNames: MORRIS, ELI
                                        (FTO); LINDSTROM, JENNIFER (PEER)
00:49:04      MISCN    V01265/PD35      2K53 Comment: VIN MATCHES
00:49:30      MISCN    V01265/PD35      2K43 Comment: CRIME SCENE LOG - FRONT E74
00:49:41      CLOS     V01265/PD35      2K43 Location: CRIME SCENE LOG - FRONT E74
00:51: 12    *CLEAR    K46135/KPM566    2K51
00:57:21      BACKER   V01304/PD36      SK2 UnitID: 2K21 Location: STN Operator: K46245
                                        OperNames: LONTZ, TIM (PEER)
00:59:38     LOGM      V01304/PD36      Message: MSGID0ll 706240759015793 MessageType:
                                        Text Received: 06/24/2017 00:59:10 Comment:
                                        CHEEKS MISD/TUKWILA PD- FTA THEFT 3 $3000
01 :00:04    *CLEAR    K45645/KPM543    6K36
01:02:13      LOGM     V01304/PD36      Message : MSGID011706240802015847 MessageType :
                                        Text Received: 06/24/2017 00:59:08 Comment:
                                        CHEEKS MISD/SEATTLE MUNI COURT
01 :02: 19   CALLBK    V01304/PD36      Terminal: PD35 Comment: CONFIRMED THRU TUKWILA
                                        PD- DEVONTE CHEEKS 072897- FTA THEFT3 $3000
01 :02:35    LOGM      V01304/PD36      Message: MSGID0l 1706240802015858 MessageType:
                                        HTML Received: 06/24/2017 00:59:07 Comment:
                                        CHEEKS DOL- INSTRUCTIONAL PERMIT DWLS3




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01:02:43       MISCN     V01304/PD36       Comment: CHEEKS GOOD TO GO TO SCORE
01:03:08       LOGM      V01304/PD36       Message: MSGID011706240803015872 MessageType:
                                           Text Received: 06/24/2017 00:59:06 Comment:
                                           CHEEKS ORDER W/GUERRA
01: 11: 17     BACKER V01304/PD36          l0Kll UnitID: 2K21 Location: STN Operator: K45902
                                           OperNames: CHURCH, TRACEY (CMDR)
01: 13:48      MISCN     V01304/PD36       Comment: VALLEY UNIT ADVISED APPROX 20 AGO TO
                                           RESPOND
01:15:50        CLOS     V01304/PD36       SK2 Location: KENT PD, KEN
01:16:10       *CLEAR    K6 7266/KPM 548   2K37
01:22:34        TRANSP   V01265/PD35       2K53 Location: KENT PD, KEN Mileage: 97965
01 :24:45      *CLEAR    K84124/KPM529     2KSS
01 :29: 23     *CLEAR    K65246/KPM 542    4K12
01 : 3 2: 01   *CASE     K52246/KPM561     2K57 Case#: CKPl 70009738
01 :32: 13     *CLEAR    K91100/KPM520     2K33
01 :32:40      *CLEAR    K52246/KPM561     2K57
01 :34: 52     *CMPLT    K19854/KPM525     2K53
01 :40: 21      MISCN    V01304/PD36       2K43 Comment: BLOCKING OFF SIDEWALK TO KEEP
                                           CAMERAS BACK
01:48:24        CLOS   V01265/PD35         6K33 Location: STN
01:48:55       *ONSCN K51141/KPMSS0        6K37
01:53:26        BACKER V01265/PD35         SDl UnitID: 2K44 Location: CANTERBURY PARK, KEN
                                           Operator: DP9901 OperNames: SHEPARD, BILL
01:54:31       BACKER V01241/PD32          lORS Operator: RP1441 OperNames: EDDY, JEFFREY
02:05:03       BACKER V01241/PD32          SR1 UnitID: l0RS Location: APPLEBEES, KEN Operator:
                                           RP7110 OperNames: RADKE, RUSSELL (SGT/VCDU)
02:05:37       BACKER V01241/PD32          SR20J. UnitID: SRl Location : APPLEBEES, KEN
                                           Operator: RP6847 OperNames: JAY, CHAD
02:07:25       DISPER    V01287/PD40       SAS Operator: AP3995 OperNames: FAINI, DOUG
                                           (VCDU/NEGO)
02:07:25       DISPER    V01287/PD40       SA28 Operator: AP8460 OperNames: MATT, JOSH
                                           (VCDU)
02:18:06       ONSCN     V01241/PD32       SR201
02:25:22       MISCN     V01304/PD36       6K33 Comment: AIR OPEN, UNITS SWITCHED TO
                                           PRIMARY**
02:26:44       BACKER V01300/PD33          SD3 UnitID: SDl Location: CANTERBURY PARK, KEN
                                           Operator: DP0002 OperNames: GENDREAU, FRED
02:29:43       PRMPT     V01241/PD32       SRl Comment: Preempted and dispatched to call
                                           #KPl 70044542
02:29:44       MISCN     V01304/PD36       6K33 Comment: ADVISED KINGS SENDING SOMEONE TO
                                           LOC
02:30:20       PRMPT     V01241/PD32       SR201 l0RS Comment: Preempted and dispatched to
                                           call #KPl 70044542
02:30:47       XREF      V01241/PD32       Service: P Inc: #KP170044542 Type: OSA2 Agency:
                                           KP
02:33:47       ONSCN     V01287/PD40       SAS Location: KENT PD
02:44:59       BACKER    V01300/PD33       ST59 UnitID: SD3 Location: CANTERBURY PARK, KEN
                                           Operator: TP581A OperNames: HANN, LARRY
02:59:16       PRMPT     V01304/PD36       4K16
03:01:23       BACKER    V01194/PD33       SD2 UnitID: SDl Location: CANTERBURY PARK, KEN
                                           Operator: DP0702 OperNames: WEST, JAY
03:02:02       CLOS      V01194/PD33       SDl Location: KENT PD



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03:02:10     CLOS      V01194/PD33       SD3 Location: KENT PD
03:02:18     CHGLOC    V01194/PD33       SD2 Location: KENT PD
03:02:26     CHGLOC    V01194/PD33       ST59 Location: KENT PD
03:22:51     BACKOS    V01304/PD36       2K57 UnitID: 2K21 Location: STN Operator: K52246
                                         OperNames: BRATLIEN, ERIN
03:25:44     -XREF                       Service: P Inc: #DP170008851 Type: OSAl Agency:
                                         DP
03:31:45      ONSCN    V01194/PD33       SD2 ST59
03:32:22      CLOS     V01265/PD40       SA28 Location: KENT PD
03:54:00     *CLEAR    K51141/KPMSS0     6K37
03: 56: 44    MISCN    V01284/PD36       2K57 Comment: 1 IC ON TUKWILA WARRANT
03:57:07      BACKOS   V01284/PD36       4K16 UnitID: 2K57 Location: STN Operator: K22318
                                         OperNames: GOFORTH, SEAN
03:57:08     TRANSP    V01284/PD36       2K57 4K16 Location: SCORE JAIL, DES Comment: 1
                                         MALE
03:57:47      CASE     V01287/PD40       SA28 Case#: CAPl 70007840
04:02:36      CHGLOC   V01284/PD36       2K53
04:02:56      CHGLOC   V01284/PD36       2K53 Location: SCENE
04:12:49      CLOS     V01194/PD33       SD2 Location: CANTERBURY PARK
04:13:05     *CMPLT    K52246/KPM561     2K57
04:13:25      BACKOS   V01194/PD33       SDS UnitID: SD2 Location: CANTERBURY PARK
                                         Operator: DP0202 OperNames: EMLY, CASEY
04:14:28     *CLEAR    K19854/KPM525     2K53
04:24:32      CLEAR    V01284/PD36       SK2
04:32:08      CMPLT    V01284/PD36       4K16
04:33:39     *CLEAR    K57815/KPM547     K913
04:34:23      CLEAR    V01284/PD36       2K25
04:35:09     *BACKOS   K77681/KPM509     2K24 UnitID: 2K43 Location: CRIME SCENE LOG -
                                         FRONT E74 Operator: K77681 OperNames: LINDSTROM,
                                         JENNIFER (PEER)
04:37:27 *ONSCN        K45653/KPM527     2K41
04:42: 13 *CLEAR       K45653/KPM527     2K41
04:50:35 . CLEAR       V01284/PD36       4K16
04:52:45   PRMPT       V01287/PD40       SAS Comment: Preempted and dispatched to call
                                         #APl 70046606
04:53:06     BACKOS V01287/PD40          SAS UnitID : 5A2S Location: KENT PD Operator: AP3995
                                         OperNames: FAINI, DOUG (VCDU/NEGO)
05:35:04     MISCA     V01346/CR08       Comment: NABOR/HUYNH, NGAN/206.859.8742 REQ
                                         FONE FOR QS
05:38:55     *BACKER K12861/KPM546       2K20 UnitID: 2K24 Location: CRIME SCENE LOG -
                                         FRONT E74 Operator: K12861 OperNames: CHAPMAN,
                                         COREY
05:40:55      CLEAR    V01284/PD36       6K33
05:44:35     *ONSCN    Kl 2861/KPM 546   2K20
05:57:28      CLEAR    V01284/PD36       2K57
05:57:40     *CLEAR    K78061/KPM512     K914
05:58:33      BACKOS   V01284/PD36       2K33 UnitID: 2K21 Location: STN Operator: K46290
                                         OperNames: MAJACK, DARIN (NEGO)
06:09:29     SCDOFF V01284/PD36          2K20
06:09:34     CLEAR  V01284/PD36          2K20
06: 11: 08   CLEAR  VO 1284/PD36         2K24



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06:11:27    *BACKOS K12S61/KPM509      2K20 UnitlD : 21<21 Location: STN Operator: K1286 1
                                       OperNames: CHAPMAN, COREY
06:19:17    *CHGLOC   K58426/KPM567    2K43 Location: STN
06:23:57    *ONSCN    K58426/KPM567    2K43
06:27:36     CLEAR    V012S4/PD36      2K33
06:27:46     CLEAR    V012S4/PD36      2K43
06:2S:04     BACKOS   V012S4/PD36      21(43 UnitID: 2K21 Location: STN Operator: K46290
                                       OperNames: MAJACK, DARIN (NEGO)
06:34:04    SCDOFF    V01287/PD40      SAS
06:34:06    PRMPT     V012S7/PD40      SAS
07:19:51    CLEAR     APS460/ APW033   SA2S Dispo: R
0S:16:44    REQUST    V01229/PD33      5D2 Rtype: TOW Community: KEN -Community: KEN -
                                       Company: KENLYN -Location: APPLEBEES, KEN
0S:17:29     MISCN  V01229/PD33        5D2 Comment: LYNNS TOW ENRT
0S:40:35    *MISCN  K 12S6 l/KPM 509   2K20 Comment: TOW ONSCENE
0S:45: 11   *BACKER K37S62/KPM566      2KS0 UnitID: 2K20 Location: STN Operator: K37S62
                                       OperNames: JAMES, CHELLSI
08:46:30 *CLEAR       K37S62/KPM566    2KS0
09:04:53 *CLEAR       K46290/KPM 561   2K43 Dispo: T
09:05:0S *CLEAR       K12861/KPM509    2K20
09:05:4S   SCDOFF     V012S4/PD36      2K21
09:05:4S   SCDOFF     V01284/PD36      2K44
09:05:51   CLEAR      V012S4/PD36      2K21 2K44
09:05:56   CLEAR      V012S4/PD36      10K11
10: 13:4S CLEAR       V011S3/PD36      5D1 5D2 5D3 5D5
10:15:32 CLEAR        V01183/PD36      ST59
10:15:32 -PRIU                         ST59
10:15:32 -CLEAR
10:15:32 CLOSE        V01183/PD36
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15:16:17 XREF         V01003/PD35      Service: P Inc: #KP170044899 Type: FUP Agency: KP
15:16:27 -PREMIS                       Comment: PPR, FPR




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